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                              IN THE United States District Court
                                 Northern District of Georgia


MARTIN J. WALSH,
Secretary of Labor
United States Department of Labor          *       CASE NO:
                                                   3:21-cv-00220-TCB
                                           *
                                           *
                 Plaintiff,                *
-vs-                                       *
                                           *
                                               *   DEFENDANTS' ANSWER
                                           *
811 AUTOWORKS, LLC D/B/A
A OK WALKER AUTOWORKS.
AND MILES WALKER, an individual,           *
Defendant(s), Pro Se.                      *



     Defendant(s), Miles Walker, pro se, 811 AUTOWORKS, LLC D/B/A
A OK WALKER AUTOWORKS respond to Plaintiffs complaint, respectfully show to the
           Court as follows:


I.

Admitted

"-

Admitted

III.

Admitted

IV.

Deny all items
V.

Deny all items.


Defendant did make, keep and preserve accurate records of the persons employed and of the
wages, hours worked by said employees abiding by the provisions of §§ 11(c) and 15(a)(5) of the
Act, 29 U.S.C. §§ 211(c) and 215(a)(5), and Regulations found at 29 C.F.R. § 516. The
defendant can provide the documentation to the court at its' request.


VI.

       1. Admitted — The last paycheck for Mr. Flaten was made out and signed but was
          inadvertently not mailed.

       2. Denied

       3. Denied

       4. Admitted - It is the defendants' assertion that paying an employee in United States
          currency, no matter the denomination of the currency cannot be considered a
          retaliatory or discriminating action. Mr. Walker specifically asked a WMD
          representative if he could pay in cash and if any denomination of cash was
          acceptable. He was told that it was fme as long as Mr. Flaten was paid. Section 31
          U.S.C. 5103, entitled "Legal tender," states: "United States coins and currency
          [including Federal Reserve notes and circulating notes of Federal Reserve Banks and
          national banks] are legal tender for all debts, public charges, taxes, and dues." This
          statute shows that all U.S. money as identified above is a valid and legal offer of
          payment for debts when tendered to a creditor or employee.

       5. Admitted in relation to posting a comment to the company website. Nothing posted
          on the company website identified Mr. Flaten or any other employee. Any publicity
          from this case was sought after by Mr. Flaten himself by going to the press and doing
          multiple defamatory interviews which only told one side of the story. Any public
          defaming, in this case, was done by Mr. Flaten himself, therefore cannot rise to the
          level of retaliatory or discriminating actions.



                                    Respectfully submitted,

                                    Miles Walker, pro se
                                    Address: 261 Clover Reach Peachtree City Ga. 30269
                                    Telephone: 770-595-1667
                                    Defendant, pro se
                                CERTIFICATE OF SERVICE

       This is to certify that a copy of this answer has been sent by ordinary United States Mail

this   day of May 2022 to:


Ms. Kristin Murphy, Office of the Solicitor, U.S. Dept. of Labor — 61 Forsyth Street, S.W. Room
7T10, Atlanta, GA 30303
(Name and address of Plaintiff's attorney)




 efendant, Pro Se (Signature)




                                    Miles Walker, pro se
                                    Defendant, pro se
